                      UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

       WARREN DAVIS PROPERTIES XXV,                 )
       L.L.C., a Missouri limited liability company,)
                                                    )
       and                                          )
                                                    )
       DAVIS PROPERTY MANAGEMENT,                   )
       L.L.C, a Missouri limited liability company, )
                                                    )
               Plaintiffs,                          )        Cause No. 6:21-CV-03177-LMC
                                                    )
       ZURICH AMERICAN INSURANCE                    )
       COMPANY, an Illinois corporation,            )
                                                    )
       And                                          )
                                                    )
       AMERICAN GUARANTEE AND                       )
       LIABILITY INSURANCE COMPANY,                 )
       an Illinois corporation,                     )

                   ZURICH AMERICAN INSURANCE COMPANY’S MOTION
                           TO DISMISS PLAINTIFFS’ PETITION

       Defendant Zurich American Insurance Company (“Zurich”) hereby moves to dismiss

Plaintiffs’ Petition pursuant to Federal Rule of Civil Procedure 12(b)(6) because Plaintiffs have

failed to state a claim upon which relief can be granted against Zurich. In support of its Motion,

Zurich incorporates the arguments set forth in its Suggestions in Support, filed herewith.

                                                     Respectfully submitted,


                                                            /s/Timothy J. Wolf
                                                     Timothy J. Wolf, #53099
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that a true and correct copy of the foregoing was sent via the
Court’s electronic filing system this 22nd day of July, 2021, to all counsel of record.


                                                          /s/Timothy J. Wolf


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